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                              No. 22-56090

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


JUNIOR SPORTS MAGAZINES, INC., ET
AL.,
                       Plaintiffs-Appellants,

      v.

ROB BONTA, ET AL.,
                      Defendants-Appellees.

            On Appeal from the United States District Court
                 for the Central District of California

                     No. 2:22-cv-04663-CAS-JCx
                    Hon. Christina A. Snyder, Judge

     DEFENDANTS-APPELLEES’ MOTION FOR EXTENSION OF
        TIME TO FILE PETITION FOR PANEL REHEARING
                  OR REHEARING EN BANC
                                    ROB BONTA
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                                    THOMAS S. PATTERSON
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       MOTION FOR EXTENSION OF TIME TO FILE
PETITION FOR PANEL REHEARING OR REHEARING EN BANC

     Pursuant to Ninth Circuit Rule 31-2.2, Defendants-Appellees

respectfully submit this motion for an extension of time of 45 days in which

to file a petition for panel rehearing or rehearing en banc in this appeal, up to

and including November 13, 2023.1 The requested extension will allow

Defendants-Appellees sufficient time to consider whether to file a petition

for panel rehearing or rehearing en banc in this significant case. Defendants-

Appellees have not previously requested an extension of time to file a

petition. As further set forth below and in the attached declaration, there is a

substantial need and good cause for the extension. Plaintiffs-Appellants

oppose the request for additional time.

     On August 7, 2023, a panel of this Court filed a published opinion in

this case reversing the district court’s decision, which had denied Plaintiffs-

Appellants’ motion for a preliminary injunction. Junior Sports Magazines

Inc. v. Bonta, -- F.4th ---, No. 22-56090, 2023 WL 5945879 (9th Cir. Sep.

13, 2023). The case involves a challenge on First Amendment grounds to

California Business and Professions Code section 22949.80 (“Section


      1
         Given that the 45th day after the current due date to file a petition
falls on a Saturday, Defendants-Appellants respectfully request an extension
to the following Monday, November 13. See Fed. R. App. Proc. 26(a)(1)(C).
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22949.80”), which prohibits the advertising and marketing of firearms in a

manner that is designed, intended, or reasonably appears to be attractive to

minors. The panel concluded that despite Defendants-Appellees’ evidentiary

showing and arguments, as well as case law upholding laws restricting

commercial speech in the service of important public health and safety

concerns, Plaintiffs-Appellants are likely to succeed on the merits of their

First Amendment claim. See Junior Sports Magazines Inc., 2023 WL

5945879, at *3-8. It further concluded that the remaining preliminary

injunction factors weighed in Plaintiffs-Appellants’ favor, and therefore

reversed the district court’s denial of a preliminary injunction and remanded

the case for further proceedings consistent with its opinion. Id. at *8.

     The current deadline to seek panel rehearing or rehearing en banc is

September 27, 2023. See Fed. R. App. P. 40(a)(1) and 35(c). This Court may

extend that due date for good cause, including a showing of diligence and

substantial need. See 9th Cir. R. 31-2.2(b); see also Fed. R. App. P. 26(b),

40(a)(1).

     As set forth below and in the accompanying declaration, Defendants-

Appellees are carefully analyzing the panel’s decision to determine whether

the filing of a petition for panel rehearing or rehearing en banc is warranted.

See Fed. R. App. P. 35(a)(1), (b)(1)(A). This case involves important
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questions of constitutional law, including the construction and application of

the intermediate-scrutiny standard to regulation of commercial speech. The

decision on whether to file a petition requires careful deliberation and

consultation among multiple sections within the California Attorney

General’s Office, as well as multiple levels of internal approval. Decl. of

Kevin J. Kelly at ¶ 3. The requested extension of time accounts for both the

internal approval process and for the future work involved in preparing and

finalizing a petition for panel rehearing or rehearing en banc, which must

also undergo a very detailed review and approval process, if the Attorney

General’s Office determines to file a petition. Id. The requested extension

will also ensure that the petition, if filed, will present the issues in a way that

will be most helpful to the Court.2




      2
        The instant appeal was heard on the same date and by the same panel
as an appeal of denial of a preliminary injunction in Safari Club
International et al. v. Bonta (9th Cir. Case No. 23-15199), a challenge to
Section 22949.80 on similar grounds. As of this filing, an opinion in Safari
Club International has not yet issued. The requested extension of time could
allow Defendants-Appellees to also consider whether any opinion in that
matter (if issued during the requested extension) informs the question
whether to seek rehearing in this case.
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     In conclusion, based on the foregoing, Defendants-Appellees

respectfully request a forty-five day extension until November 13, 2023 to

consider and, if necessary, prepare and file such petition. (Id. ¶ 4.)


Dated: September 20, 2023         Respectfully submitted,

                                  ROB BONTA
                                  Attorney General of California
                                  THOMAS S. PATTERSON
                                  Senior Assistant Attorney General
                                  MARK R. BECKINGTON
                                  Supervising Deputy Attorney General

                                  /s/ Kevin J. Kelly

                                  KEVIN J. KELLY
                                  Deputy Attorney General
                                  Attorneys for Defendants-Appellees




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           DECLARATION OF KEVIN J. KELLY IN SUPPORT OF
                 MOTION FOR EXTENSION OF TIME
     I, Kevin J. Kelly, declare:

     1.    I am an attorney licensed to practice law in the State of California and

before this Court. I am employed as a Deputy Attorney General by the California

Department of Justice, Office of the Attorney General. I am an attorney of record

for Defendants-Appellees and have personal knowledge of the matters stated

herein.

     2.    This Court published its opinion in this case on September 13, 2023.

Junior Sports Magazines Inc. v. Bonta, -- F.4th ---, 2023 WL 5945879 (9th Cir.

Sep. 13, 2023). Defendants-Appellees and their counsel are considering whether to

file a petition for panel rehearing or rehearing en banc at this time.

     3.    The current deadline to file a petition is September 27, 2023.

Defendants-Appellees request a 45-day extension of time to consider and, if

necessary, file a petition for rehearing or rehearing en banc. The requested

extension accounts for both the review and approval process for the decision to file

a petition and the work involved in preparing and finalizing a petition for rehearing

en banc, which must undergo a very detailed review and approval process as well.

An extension is necessary because assessing whether to seek further review




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requires a careful and in-depth process, including by multiple components of the

Office of the Attorney General, including the Office of the Solicitor General.

    4.    I believe a 45-day extension of time will allow sufficient time to

complete necessary deliberations and prepare a petition, if one is internally

approved. A 45-day extension would result in a new deadline to file the petition of

November 13, 2023. I am not aware of any prejudice to Plaintiffs-Appellants that

would result from granting this extension. On September 18, 2023, I contacted

Plaintiffs-Appellants’ counsel regarding this Motion, explained I would be

requesting an extension of 45 days, and I asked whether Plaintiffs-Appellants

would oppose that request. Plaintiffs-Appellants’ counsel informed me on

September 19, 2023 that they do so object.



     I declare under penalty of perjury that the foregoing is true and correct, and

that this declaration was executed in Los Angeles, California, on September 20,

2023.

                                               /s/ Kevin J. Kelly
                                               Kevin J. Kelly




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